     Case 4:23-cv-04119 Document 11 Filed on 02/21/24 in TXSD Page 1 of 1

                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

Deutsche Bank National Trust Company

v.                                               Case Number: 4:23−cv−04119

Terry Roberts, et al.



                            NOTICE OF RESETTING

A proceeding has been set in this case as set forth below.

Before the Honorable Peter Bray
PLACE:
by video


DATE: 3/8/2024
TIME: 10:00 AM
TYPE OF PROCEEDING: Initial Conference


Date: February 21, 2024                                      Nathan Ochsner, Clerk
